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                                   UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA
TODD NOWICKI, ET AL                           *     CIVIL ACTION
                                                    NO. 2:14-CV-01890
VERSUS                                        *
                                                    JUDGE: Sarah S. Vance
                                                    MAGISTRATE: Karen Wells Roby
LOUISIANA MEDICAL MUTUAL                      *
INSURANCE COMPANY, ET AL                            TRIAL BY JURY
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
                     MOTION TO DISMISS CLAIMS WITH PREJUDICE

        NOW INTO COURT, through undersigned counsel, come plaintiffs, Todd Nowicki and Cynthia

Nowicki, and upon requesting to the Court that the above captioned matter has been resolved, move that their

claims be dismissed with prejudice in the above captioned matter.

                                                            Respectfully submitted:


                                                            LEWIS, KULLMAN, STERBCOW &
                                                            ABRAMSON

                                                            /s/ David A. Abramson____________________
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                                                            Attorneys for Plaintiffs

                                       CERTIFICATE OF SERVICE

        I do hereby certify that I have on this 19th day of April, 2016, I electronically filed the foregoing with
the Clerk of Court by using CMF/ECF system, which will send a notice of electronic filing to all counsel of
record.

                                                  /s/David A. Abramson
                                                  David A. Abramson


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